**** FILED: BROWARD COUNTY, FL Brenda D. Forman, CLERK 2/14/2019 2:52:32 PM.****

Broward County Sheriff's Office

1G- 187.
Booking Report

CIS # 801900172 BCCN# 908301 Booking Sheet Control Date and Time
OBTS 608263440 Print Clearance 02/13/1919 4252 = Prints Yes 02/13/19 21:48:21
Arrest # MJ 1900172 Offense Report # 90-1902-004479 Agency MAIN JAIL
Last Name SSN # m7
First DEMONS, JAMELL
Middie
Race Sex Height Weight Eyes — Hair Comp Age Admitted DOB Place of Birth State FDLE
B M 506 120 BRO BLK LBR 19 5/1/1999 VERO BEACH FLORIDA 7931326
Permanent Months of Residence
Address 604 9TH AVE VERO BEACH FL 32962

4

Arrest Date 02/13/19 18 05 00 Place of Arrest 555 SE 1ST AVENUE Arresting Officer 11725 GARCIA

Inmate Logged Date 02/13/19 18 48 48 Inmate Log Type FULL INTAKE Place Admitted MAIN
Intake Comments SP/CO-17481 WC-16400 29/54-17481
Alias Last name, First, Middle, DOB
Warrants Officer Id bs16400
Scars,Marks, Tattoos
Tattoos Neck JAMIE, JANA
Tattoos Face (other than LEFT EYE HEART, RIGHT EYE 17
specified)
Tattoos Arm, right EATH, MONEY BAGS, EGYPTIAN, CLOCK EITH TROPHY, BART SIMPSON
Tattoos Arm, left JAMIE, 100K

Release Date/Time Release Reason Release Authorized By

Charge No. Charge Initiation Date Statute Warrant/Capias Level M.C B. Type Bond Amount
1 02/13/19 21 35 782.04-1a1 19001872CF10A 6F Y NO BOND $0 00

Charges © MURDER PREMEDITATED Comments MURDER IN THE FIRST DEGREE

Booking Off. ID bs14505 County BROWARD Judge

Charge No. Charge Initiation Date Statute Warrant/Capias Level M.C B. Type Bond Amount
2 02/13/19 21.35 782 04-1a1 19001872CF10A 6F Y NO BOND $0 00

Charges MURDER PREMEDITATED Comments MURDER IN THE FIRST DEGREE

Booking Off.ID bs14505 County BROWARD Judge

* End of Report *
*
x

BROWARD COUNTY
ARREST # 801900172

_] COMPLAINT AFFIDAVIT

SHADED FIELDS MUST BE ANSWERED IF DEFENDANT NOT IN CUSTODY

roe

FY ARREST FORM

Filing Agency Offense Report Local ID # FDLE FBI
- BROWARD COUNTY SO 90-1902-004479 .
Defendant's Last Name First Middie SUF Alas/Street Name Citizenship
DEMONS JAMELL
Race Sex Hgt Wat Hair Eyes Comp Age DOB Birth Place
B M S'06 110 | BLACK | BROW | DARK 19 | 05/01/1999

Permanent Address

Scars, Marks, TT

604 9TH AV, VERO BEACH, FL 32962

TAT C_NECK/JAMIR - JANA; TAT _L__ARM/

Residence Type (4) city (2) County. Local Address 604 9TH AV, VERO BEACH, Place of Employment Length
3) Florida (4) Out of State
(3) FL 32962 YNW MELLY,
How tong defendant in Breathalyser By/CCN Reading Place of Arrest Date/Time Arrested Arresting Officer(s) CCN
Broward County 555 SE IST AVENUE 02/13/2019 18:05 GARCIA, NESTOR (11725)
Officer Inured YL] N Unit Zone Beat Shift Trans Unit pmo YL] N Transporting Officer/CCN Pick-up Time Time Arnved/BSO
S101 CHAR
TYPE / ACTIVITY Type. -Heéroin ®.Paraphernalia? Activity. T-Traffic M-Manufacture/? Indication of Y NUK
OT N-N/A H-Hallucinogen Equipment N-N/A AS | Produce/Cultivate Aleanal tnflite
A-Amphetamine M-Maryuana S-Synthetic P-Possess Dehn K-Dispense/ Alcohol influence C] OO
| B-Rarbiturate O-Opium/Denv U-Unknown $-Sell E-Use Distribute Drug Influence [J OF O
C-Cocaine Z-Other B-Buy Z-Other
Defendant's Vehicle Make: Type: Year: Color: .
Attach
Defendant's Vehicle Towed To:
Photo 3

Name of victim(s) (if corperation, exact legal name and state of incorporation)

Count # Offenses Charged WC# / Citation # (tf applicable) FS or Capias/Warrant #
{ WARRANT -~ MURDER IN PHL FIRST DEGREE NO BOND 2019-01923 [9001872CFI0A
2 WARKANT ~ MURDER IN TUE EIRST DEGREE NO BOND 2019-01923 19Q0I872CFIOA

| Probable Cause Affidavit
Gefore me this date personally appeared _ GARCIA, NESTOR (11725)

13 dayof February _, (year) 2019 at SSS SE IST AV, FORT LAUDERDALE, FL 33301
the above named defendant committed the above offenses charged and the facts showing probable cause to believe the same are as follows

2019 at 1805 hours, Subject DEMONS , JAMELL arrived at the Main Jail

who being first duly sworn deposes and says that on

(crime location)

On February 13,

Facility to self-surrender himself. A warrant check was completed and confirmed by
Green #

Records Technician 17693.

Subject was taken into custody for processing.

thefacts stated therein are true and correct to the best of my knowledge and belief

GARCIA, NESTOR (11725)
Officer's Name/CCN

Under penalty’ of pamengrt

Main Jail Facility

Officer's Division

Sworn to (or affirmed) and subscribed before me this 13 day of February 2019 (year),
by GARCIA, NESTOR L) (name and title), who 1s personally known to me or has produced

as identification

ln (@025

TitlefRank and CCN

4

5 O =

Notary Public, Deputy Clerk’! ssisiant State Attorney

Seth, VV.

Print, Type or Stamp Commissioned Name of Notary Public

(SEAL)

Seventeenth Judicial Circut FIRST APPEARANCE/ARREST FORM

Ong - Court
Broward County 2nd - State Attorney
State of Florida 3rd - “Filing Agene:
(SHOULD ADDITIONAL SPACE BE NEEDED, USE THE PROBABLE CAUSE AFFIDAVIT CONTINUATION (BSO DB#2a)} h A 9 Agency
BSO DB-#2 (Revised 05/00) ain ~ Arresting Agency

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S (7/(0- rua WC [L4p0 4 /5UA WD
IN THE CIRCUITICOUNTY COURT OF THE 17TH JUDICIAL CIRCUIT,
IN AND FOR BROWARD COUNTY, FLORIDA

STATE OF FLORIDA, AGENCY. BROWARD COUNTY SO
Plaintiff

vs AGENCY CASE NO.: 90-1902-004479

DEMONS, JAMELL
Defendant

NOTICE OF CONFIDENTIAL INFORMATION WITHIN COURT FILING

Pursuant to Florida Rule of Judicial Administration 2.420(d)(2), | hereby certify

That | am filing a Probable Cause Affidavit that contains confidential information as described
in Rule 2 420(d)(1)(B) and that the confidential information is contained within this document.

Indicate the applicable confidentiality provision(s) below from Rule 2.420(d)(1)(B) and
specify the location within the document on the space provided:

Social Security, bank account, charge, debit, and credit card numbers $ 119.0714(1)(1)-(j),
(2)(a)-(e), Fla Stat (Unless redaction is requested pursuant to § 119.0714(2), this information is
exempt only as of January 1, 2011)

Victim's address in domestic violence action on petitioner's request.S 741.30(3)(b), Fla.
Stat

Information identifying victims of sexual offenses, including child sexual abuse.
$$ 119 071(2)(h), 119.0714(1)(h), Fla. Stat

Information which reveals the identity of the victim of the crime of child abuse.
S§§ 119.071(2)(h), 119 0714(1)(h), Fla Stat

| HEREBY CERTIFY that a true copy hereof has been furnished to the Clerk of Court, through
the Broward Sheriffs Office this /31# day of February, 2019.

OfficerName GARCIA OR (11725)

BSO - Warrants/Extradition Division |
7%. Confirmation Report
a Print Date: February 13,2019 6:04°52PM ‘ ‘

Confirmation Information

Confirmation Number: WC-201901923 Date Issued: 02/13/2019 Issued By: bs1 7693
Issued To Name/ID/Org: DEP. GARCIA/11725/BSO/SCANNER

Status: Assigned

Notes: NEW ARREST VIA PHONE BY DEPUTY GARCIA #11725 BSO/ SCANNER... 4 PAGES

Case Number: 19001872CF 10A-000 Name: DEMONS, JAMELL
Capias Date: 2019/02/08 Origins BC DOB: 05/01/1999 Race/Gender: BM

Page 1 of I
tO PILED: BROWARD COUNTY, FL ‘Brenda D, Forman. CLERK 2/8/2019 2°18 42 PM.****

. D COMPLAINT AFFIDAVIT i
i , HA S MUST BE ANSWERED I? DEFENDANT NOT IN CUSTODY
8ROWSAT COUNTY SHADEO FIELDS Swe DEFENDANT NOT IN CUST : @ ARREST FORM
ARREST #
Filing Agency Otfanse Report i Sones
MIRAMAR PD . 18-10-06269 ; =
Ostendant's Last Name , "First Ajias/Street Name
DEMONS JAMELLM
Race Sex Hgt” EWeot Hair Eyes Comp Age bos Girth Place ° sss
B MM. 3'08 130_j.BLAGK | BROW }MEDIU i9 OS/OIFLI99-
Permanent Address ° ° " Sears Marks, TT
18521 SI 44TH ST,.MIRAMAR, FL 33029
Residence Type’ (a)cny © (2) County Local Address ) 95>) SW 4TH ST. Placa of Employment . Length
(3) Florida (4) Gut of State , :
MIRAMAR, FL 33029 ae
How lang defendant in Breathalyser ByiCCN Reading (Place of Arest Date/Time Arrested Arresting Officers} CCN
Broward County: O2/07/2019 18:24 MORE TTL, MARK A. _(319)
Officer inured YC] N DY] Unit Zone {Beat Shift Trans. Unit puo Y(_} N Transporting OfficerICCN Pick-up Time} | Tima Arnved/BSO
TYPEVACTIVITY: fiyeg © Eterna F-Paraunamatal | Activity: 1-Tratfie M-Manglaciuta! fregicatign ¢ Y N UK
NAA H-Hailucenogen Equipment N- NFA A-Smuggle Produce/Cultivate Asia inivene OF OF O
. A Amphelamine M-Manjuana S-Synthetic P-Passess 0-Deliver K-Dispense/ oO staat
. i. ‘B-Barbiturate O-Opiurv/Dariv. U-Unknown S-Seil E-Use Orstnbute Ongittvence OF OF O
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‘ Seer”
Defendant's |; Hut, meidenitiorsior aitait
Photo ESIGN
Sees AS SEG An
° Name of wcum(s) (if corporation, exact lagal name and slate of incorporauon) 7 ’ >
WILLIAMS, ANTHONY GREGORY 1525 NIV I3TH ST, FT LAUDERDALE, FL 3331TT *
THOMAS, CHRISTOPHER JERMAINE J 18521 SW 447TH ST, MIRAMAR, FL 33029 i
Count # Offenses Charged WC3# / Citation A (if applicable) fs or Caplas/Warrant # :
a HOMICLDENEIL ELL KU LAUR DER PREMEDITATED, : 3 282, Ot Ad
* ° : ° i

Before me this date personally appeared MORETTL ALAR da ELD) who being first duly sworm deposes. ,and says that on

26 day ot October tyear)__ 2018 an "20900 PEMBROKE RD, MIRAMAR, FL (crime location) the above named defendant commited the above
offenses chargéd and the facts: showing probable cause to believe Ihesame dre as iolows, :

On or about the 26th day of October in the year of Two Thousand Eighteen, in the County
of Broward, State of Florida, JAMELL DEMONS and CORTLEN HENRY, did then and there
unlawfully and feloniously, while acting as principals, kill and murder Anthon:
Williams, a human being, by shooting him with a firearm with a premediated intent to
-odise the death of said Anthony Williams, and during the course thereof Saint ¢ DEMONS

‘actually possess and discharge a firearm and as a result death was nn Cone on
x Gontinued *

S SdGeGLatd teueioibe best of my knowledge and beliel.

MORETTI, MARK A, (319) Seti hivestigation
Officers Name/CCN Officer’s Divislan | :
STATE OF FLORIDA
COUNTY OF BROWARO
Sworn to (or affirmed) and subscribed before me this 7 day of February 2019 (year);
by a OFFICER MORETTI MARK Ax (name and tile), who is personally known lo me or has produced
TO. ase ot,
iy See uikorebta oui Sine Allornay oe nly and CCN alle, 4
S Expires Septumbar 7, 2020 } 3
o Bazyind Tay Troy Faln insurance 600-265-7098 Los 3
Pant, Type or Stang Commissioned Name of Nulary Pubic . (SEAL)
seventeenth Judicial Circuit FIRST APPEARANCE/ARREST FORM ong = Coun
roward ‘aunty 2nd + State Atlomey
State of Florida Yd Filng Agency

(SHOULD ADDITIONAL SPACE @E NEEDED, USE THE PROBABLE CAUSE AFFIDAVIT CONTINUATION (BSO D8A2a)) an Arrest on
8SO DB-42 (Revised 05/00} esling Agency

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CO COMPLAINT AFFIDAVIT

BROWARS caUNTY . __.PROBABLE CAUSE AFFIDAVIT CONTINUATION _ 1B] ARREST FORM
ARREST a | ,
Filing Agency -Ottansa Repon
MIRAMAR PD 18-10-06269 me :
Dafeandant's Lasi Name “fyest Mudie ~ Sur Aias/Street Name” * Ciuzensnip
DEMONS: : {| JAMELL M :
Namo of victim(s) {if comporalion, exact fegéd name and slate of iAcorporation): oe [
Count # . Offenses Charged WC#} Citation #(if applicable) |. . FS onCapias/Warrart #
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bd de i AES
sen vee

[eprobopi€ Caussandavits | fF
Belore me this date personally appeared WORETTI, MARK A, (319)

26 day of Oetadrr . (year) 2018 at 20900 PEMBROKE RD, MIRAMAR, fl.
offenses charged and the facts showing probable cause to beteve the same are as lollows:
Anthony Williams, contrary to Sections 782.04(1) (a) (1) and (2) (d), 777.011, and
775.087(1) of the Florida Statutes (L110).

t
who belng first duly sworn daposes and says that on

(crime location) the above named defendant tomsmulted'the above

+

On or about the 26th day of October in the year of Two Thousand Eighteen, in the County
of Broward, State of Florida, JAMELL DEMONS and CORTLEN HENRY, did then and there
unlawfully and feloniously, while acting as principals, kill and murder Christopher
Thomas, Jr., a human being, by shooting him with a firearm with a premediated intent to
cause the death of said Christopher Thomas, Jr., and during the course thereof JAMELL
DEMONS did actually possess and discharge a firearm and as a result death was ilnflicted
on Christopher Thomas, Jr., contrary to Sactions 782.04(1) (a) (1) and (2) (da), 747,011,
and 775.087(1) of the Florida Statutes (L110). :

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hand true to tha bést of my knomadge and bellef. ~

fi MORETTI, MARK A. (319). . Sob -.Criminal investigation
Otlice eatin! fg Officer's Name/CCN Officers Division
STATE Ge BKSHICA
COUNTY OF BROWARD
Sworn to (or affirmed) and subscribed before me this 7 day of February. . 2019 (year).
by OFFICER MORETY, MARK -A.. (name and title), who is personally known to me ar has produced

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EiawlRaiefind CON
“Pan, HREERRE a cE eam (SEAL)
Seventeenth Judicial Cire .
FIRST APPEARANCE/ARREST FORM Ong « Coun
Browarn Cony ang, + Slate Allornay
tate of Florida an. Filing Agency
BSO 06-424 (Revised 05/00} COURT COPY 4in = Arresting Agency

an

B/M 05/01/1999 oo

Jatnell Demons
18521 SW 44th Street
Miramar FL 33029

Male 05/01/1999 Black In The Circuit/Court
19-001872-CF10A In And For Broward County,
Florida

5Ft.8 In. 130 Lbs. Brown

BCCN;
Capias
Judge Mariya Weekes - FG
Deft Number 19-001872-CF10A

To all and singular the sheriffs of Florida, Greetings:
You are commanded to take Jamell Demons

If that person be found in your county, arrest and safely keep so that you may have that person’s body
before the Judge of our said court instanter to answer to the charge, filed by the State Attorney of
Broward County, Florida to:

Charge Charge Description Bond Amount
1 Murder in the First Degree No Bond* Jail hold for Mag.Hrg.
2 : Murder in the First Degree No Bond* Jail hold for Mag.Hrg.

Total: No Bond*Jail hold for Mag.Hrg.
No Bond Hold

2/8/2019
Witness Brenda D. Fogarty; Clerk of our
Said souy and eSeal 9 Your said court,
At the Courthé férdale Florida,

rer(da D. Forman, Clerk

Deputy Clerk

BOCA” GG IDIS I GI i kk dof ak dea ka ak ac ak ak ak a oft ak ake ak ck a

Received this capias on and executed same on
By arresting the within named defendant and having him now before the court.
y Sheriff By:

Deputy Sheriff
IN THE CIRCUIT COURT OF THE
SEVENTEENTH JUDICIAL COURT, BROWARD COUNTY, FLORIDA
AFFIDAVIT AND APPLICATION FOR ARREST WARRANT

JUDGE receiving AFFIDAVIT and APPLICATION:

AFFIANT: Detective M. Moretti, ID# 319
Miramar Police Department

AFFIDAVIT
STATE OF FLORIDA,

Plaintiff,
vs.

Jamell Maurice Demons
D.O.B: 05/1/1999

Fa

Defendant

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BEFORE ME Judge of the Circuit
Court in and for Broward County, came Detective M. Moretti ID#319,
Miramar Police Department, who, after being duly sworn, depose and says
that on the 26th day of October 2018, in the County of Broward and State
of Florida aforesaid, one Jamell Maurice Demons, D.O.B: 05/1/1999, did
then and there unlawfully commit the following crimes:

MURDER IN THE FIRST DEGREE WITH A FIREARM
COUNT I

On or about the 26th day of October in the year of Two Thousand Eighteen, in
the County of Broward, State of Florida, JAMELL DEMONS and CORTLEN HENRY,
did then and there unlawfully and feloniously, while acting as principals, kill and
murder Anthony Williams, a human being, by shooting him with a firearm with a
premediated intent to cause the death of said Anthony Williams, and during the
course thereof JAMELL DEMONS did actually possess and discharge a firearm and as
a result death was inflicted on Anthony Williams, contrary to Sections 782.04(1)(a)(1)
and (2)(d), 777.011, and 775.087(1) of the Florida Statutes (L10).

MURDER IN THE FIRST DEGREE WITH A FIREARM
COUNT II

On or about the 26th day of October in the year of Two Thousand Eighteen, in the
County of Broward, State of Florida, JAMELL DEMONS and CORTLEN HENRY, did
then and there unlawfully and feloniously, while acting as principals, kill and murder
Christopher Thomas, Jr., a human being, by shooting him with a firearm with a
premediated intent to cause the death of said Christopher Thomas, Jr., and during
the course thereof JAMELL DEMONS did actually possess and discharge a firearm
and as a result death was inflicted on Christopher Thomas, Jr., contrary to Sections

782.04(1)(a)(1) and (2)(d), 777.011, and 775.087(1) of the Florida Statutes (L10).

PROBABLE CAUSE:
The facts are as follows:

On 10/26/18 at 04:35 am, Cortlen Henry entered the Emergency Room at
Memorial Miramar (1701 SW 1724 Ave) requesting assistance for the two passengers
in his vehicle (2018 Jeep Compass with FL Reg #IEKD22) as they were shot multiple
times. Officer Amengor (Miramar PD), who was working the security detail, exited the
hospital and made contact with the aforementioned vehicle that was stopped in the
loading zone on the north side Memorial Miramar Hospital, ER entrance. Amengor
requested medical staff in the removing of the two passengers. Both passengers were
unresponsive and exhibited multiple gunshot wounds. The aforementioned vehicle
transporting both victims also sustained a minimum of 8 projectile entry points on

the right side exterior and 1 visible projectile entry point to the rear lift gate.

The front right passenger, Anthony Williams, sustained gunshot wounds to his
torso and head, while the right rear passenger, Christopher Thomas Jr., sustained
several gunshot wounds to his back and head. Both passengers on the right side of the

vehicle were pronounced deceased by medical staff at Memorial Miramar.

Henry was questioned by this affiant, according to him he departed a recording
studio in Fort Lauderdale with the two victims in his vehicle. Henry stated he drove on
1-595 to I-75 and exited at Miramar Pkwy heading west. Henry stated that just past
SW 160% Ave (Dykes Rd), a vehicle pulled next to him and started shooting. Henry
immediately lowered his body position to the floorboards in a protective posture to
avoid being shot. Henry added that when he sat up-right his friends, Williams and
Thomas, were shot and he immediately proceeded to the nearest hospital. Det. Toyota
later drove with Henry to have him identify the specific location of where the shooting
occurred. Henry pointed out the 16100 Block of Miramar Pkwy. It should be noted,
the area was shut down between and 160t Ave and 1724 Ave on Miramar Pkwy and
was closely examined for any evidence to corroborate the statements made by Henry.
After a long and exhausting examination no evidence was found. The detectives and
officers walked the twelve blocks out on foot. It should be noted, not a single report of
gun shots was reported to Broward County Communication Center, nor Miami-Dade
as well. It should be noted that the area between 17274 Ave and 184th Ave was closed
down on 10/29/2018 and canvassed on foot by detectives and officers. No

corroborating evidence was found.

Henry’s hands were processed by Miramar Police Department Crime Scene
Technician Michael Kelly first by submission for laboratory testing with Tri-Tech
Gunshot Residue Evidence collection kit, and then with a presumptive gunshot reside
test. The presumptive gunshot residue test was negative. Lab results are pending the

Tri-Tech gunshot residue evidence collection.

On 10/26/2018, this affiant along with Det. Toyota made contact with
Dontavius Wither, who initially identified himself as Dontavius Williams, at 18521 SW
44th St. This is the last known residence of the victims. According to Withers, they
(Withers, Henry, Demons, Thomas, Williams and a few others) were at a recording
studio in Fort Lauderdale and all left together in two separate vehicles. Withers stated
he arrived a little ahead of the victims at the aforementioned residence. Withers stated
it wasn’t until later that he found out his friends were shot. Withers said that
Demons was in his vehicle (a red Mitsubishi) and the grey Jeep was occupied by
Henry, Williams and Thomas. Withers was asked if he knew the location of Demons
and he stated he did not. However, it was later discovered that Withers was lying to
this affiant as he (Withers) had just come from the residence of Fredrick Givens (aka

Fredo Bang) and had been in the presence of Demons.

The location of the recording studio was identified as 805 NE 4th Ave in Fort
Lauderdale (New Era Recording Studio). Detectives Toyota and Bertrand made contact
with management on 10/26/2018. The manager of the studio, Albert Price, confirmed
the victims were at the recording studio, along with Jamell Demons and Cortlen
Henry. The manager provided Toyota and Bertrand access to the studio’s security

cameras. Video evidence shows on 10/26/2018 the aforementioned gray Jeep
departed the New Era Sound Studio located at 805 NE 4th Ave in Fort Lauderdale, FL
at 03:20 hrs. (Video was behind one hour) on 10/26/2018. The driver was identified
as Cortlen Henry, the left rear passenger as Jamell Demons, the right front passenger
was Anthony Williams, and the right rear passenger as Christopher Thomas Jr. It
should be noted that Demons had a light brown satchel hanging down on the left side
of his body. The satchel appeared to be weighted down but the contents were
unknown. When Christopher Thomas Jr. departed the studio, he was carrying a black
satchel in his left hand. That satchel also appeared to be weighted down as well. The
grey Jeep with the above listed.individuals (Demons, Henry, Williams and Thomas)
departed the area. The red Mitsubishi, being driven by Withers and occupied by
Adrian Davis and two other individuals, followed behind.

As stated earlier;-Withers said he~proceed-directly to his residence in Miramar
(18521 SW 44% St, Miramar). This was confirmed by the security cameras at the gate
house to Sunset Lakes located in the 3500 block of 184th Ave as he arrived at 03:49
hrs. The video surveillance cameras at 17001 Miramar Pkwy, captured the red
Mitsubishi and a dark SUV passing SW 1724 Ave at 03:46 hrs. This is consistent with
the arrival of the red Mitsubishi at the security gates to Sunset Lakes at 03:49 hrs.
Withers had to stop and be identified to enter the residence by the security guards as

observed on video.

On 10/26/2018, a search warrant was issued in this case for the vehicle driven
by Henry and occupied with Thomas, Williams, and Demons. The vehicle was
maintained in secured storage at the Miramar PD West Sub Station. The vehicle is
owned by Enterprise Car Rental and rented by the manager of Demons, Jameson
Francois. The evidence was processed by CSIs Carter and Carroll. The vehicle had 8
visible projectile holes on the right side of the vehicle (3 on the front right passenger
door and 5 on the right rear passenger door). There was also a projectile hole on the
rear lift gate. The vehicle also had visible damage to the interior of the vehicle from
projectiles entering from the outside to the inside of the vehicle. A significant amount
of blood was on the inside passenger side of the vehicle (front and back). All the
projectiles entering the vehicle were concentrated to the right side of the vehicle
(Passenger Side). All the evidence was collected and placed into evidence. It should be
noted that one (1) single .40 caliber shell casing (Blazer S&W) was found inside of the
vehicle on the floor board of the left rear passenger side. It was found inside a white
plastic bag, on the floor board. This was the seat that was utilized by Demons as
observed on video. This single shell casing also contradicts statements made by Henry

stating this incident was a drive-by shooting. This supports the evidence that the
victims were shot inside the car first and the projectile holes on the exterior was later

staged in an effort to misdirect law enforcements investigation.

On 10/27/2018, this affiant made contact with Withers in Vero Beach. After
confronting Withers with the video evidence; he (Withers) then changed his story.
Withers added Demons was in the grey Jeep initially, but along the way he got out of
the Jeep and entered his Red Mitsubishi. Withers stated this occurred on I-75 near
the Sheridan Street exit. Withers stated he was contacted by Demons via “Snapchat”

to pull over on I-75 and meet up.

A search warrant was obtained on the cell phones/cell sites used by Demons,
Withers, Williams, and Thomas. Cell phone mapping showed Demons, Thomas, and
Williams were together and Withers followed behind them. It was determined that
Withers did proceed to the residence at 18521 SW 44% St and arrived at said location
around 03:49 a.m. This was also confirmed by the video at the gate to Sunset Lakes.
These records also showed a continuous route from the studio to the residence

without a stop or delay in between.

The cell site warrant for the cell phones of Demons, Thomas, and Williams
revealed they traveled west on Miramar Pkwy, but turned north on SW 184% Ave
towards Pines Blvd and then turned west on Pines Blvd. Video evidence shows the
grey Jeep Compass traveling west in the 19200 Block at 03:53 hrs. and returned east
bound at 04:06 hrs. Cell site data from Demon’s cell phone corresponded with the
actual crime scene location, which is within the jurisdictional limits of Miramar,
Broward County, Florida. Williams cell phone also registered at the same location as
Demons. The cell phone for Thomas registered on a cell tower near the crime scene,
but separate and apart from the false reported “drive-by” location. This evidence
contradicts statements made by Henry at the hospital as it shows a different path
traveled. These records also don’t show Demons meeting up with Withers and

proceeding home with him.

T-Mobile cell phone records (CDR) also show that Demons was traveling from
Fort Lauderdale in a western direction starting at 03:20 hours, until the time of the
shooting on 10/26/2018. This was consistent with video evidence obtained in this
case. The records then show Demons traveling back in an eastern direction, with the
location of the crime scene being in the path of travel. It should be noted that the
original crime scene identified by Henry was a false location. This investigation
revealed that Henry intentionally lied to this investigator and others to deceive and

mislead the investigation in an attempt to hide the incriminating truth pertaining the
homicides of Thomas and Williams. These same cell phone records show the cell
phones of Demons and Williams moving around the area west of I-75 in Pembroke
Pines at 04:25hrs., prior to entering the hospital at 04:35 hrs. The records of Demons
also indicate a departure from the vehicle at 04:32 hrs. Video evidence shows Henry
arriving at the hospital with Thomas and Williams but without Demons. According to

the CDR of Demons’ cell phone, he separated from the cell phone belonging to
' Williams around 4:32 hrs. This was according to the records provided by T-Mobile via
a search warrant issued in reference to this case. Evidence shows that Henry and
Demons drove around for a period of time with the two dead victims in their vehicle
prior to entering the hospital. This was in a calculated effort to establish their version

of the incident in an attempt to deceive law enforcement.

Video evidence obtained from the hospital--sshows Henry had changed his
clothes. When he (Henry) departed the studio, he was wearing a black t-shirt, but at
the hospital he was wearing a black hoodie. The black hoodie was later examined and
no forensic evidence was noted, however, the black t-shirt worn under the hoodie by

Henry had a blood stain pattern on it, both front and back.

On 11/21/2018, Officer D. Gowans of the Fort Lauderdale K9 unit with, K-9
“Gunner” was requested to assist in searching the area identified as suspect crime
scene from the phone records, within the jurisdiction of Miramar, Broward County,
Florida. The K-9 showed reaction to an area on the side of the road, approximately
870 feet from the nearest north/south running cross street. A closer examination
revealed a total of (8) .40 cal Blazer S&W shell casings on the ground next to the
roadway in the shoulder. Two different types of shards of glass were found in close
proximity of the shell casings. The first type of glass was a clear glass consistent with
the front right passenger window of the vehicle and the second type was a tinted glass
consistent with the right rear passenger side window of the aforementioned vehicle.
This crime scene was processed by CSI Currie. The casings were sent to the BSO
crime lab for comparison and evaluation. A closer examination of the newly
discovered crime scene revealed the vehicle was stopped at this location and
weapon(s) were discharged into the vehicle. The vehicle made a U-Turn and fled the
area. The other side of the road also had shards of glass consistent with the
passenger windows of the vehicle. This was also a contradiction to the statement
made by Henry on the morning of the shooting at the hospital to this affiant. This
was clearly not a drive-by shooting and no other vehicle pulled next to them and
started shooting as stated by Henry. This clearly shows a pattern of deceitfulness by

Henry all in an effort to mislead this investigation.
On 11/26/2018, another search warrant was obtained for the 2018 Jeep
Compass previously mentioned. This vehicle was maintained in secured storage at
the Miramar PD West Sub-Station. CSIs Michael Kelly and Carroll conducted a
trajectory analysis, using rods and string, to determine flight path of the projectiles.
According to their analysis, one of the projectiles entered the vehicle and struck the
opposite side of the vehicle in a manner inconsistent with the vehicle being in motion.
The trajectory analysis determined the flight path of 8 projectiles had entered from the
rear lift gate area and 8 bullet flight paths had entered from the right passenger side.

On 12/05/2018, I received the autopsy report for Williams. It stated the
wound path on the neck of Williams was from back to front, left to right and upward.
This was in contradiction to what was stated that a drive-by occurred on right side of
the vehicle, while in-motion. Williams-also has a gunshot wound to-his right shoulder-
and his chest. It should be noted, none of the flight paths from the exterior of the
vehicle, matched the wound path on the rear of Williams’ head. It was obvious the

projectile entered from the left rear side of the vehicle.

On 12/14/2018, Dr. R. McDougall (Asst. Medical Examiner-Broward County)
examined the grey Jeep, that was occupied by all parties involved at the time of the .

homicide. This vehicle was maintained in secured storage since the incident.

On 01/11/2019, I received confirmation from the Medical Examiner’s office
that the entry wound on the left side of Thomas’ face was an intermediate wound. It
should be noted there was a 3cm stippling pattern around the entry wound. This was
also in contradiction to what Henry stated to this affiant at the hospital when he
attempted to mislead this affiant into believing this was a drive by shooting. This
evidence shows, the initial lethal shot occurred from inside the vehicle and was
initiated from the left rear passenger side. The same position occupied by Demons.
An intermediate wound by definition, would indicate a distance of 3 inches to 3 feet
between the victim and weapon, however due to a 3cm stippling pattern the weapon
was in a close proximity to Thomas’ head. The gunshot wounds to the back of
Thomas also indicates those wounds were inflicted after he was shot in the head, as
the projectiles entered Thomas’ back when he was leaning to the left. Evidence from
the autopsy revealed that both victims’ wound paths to their heads were from a left to
right direction. This directly contradicts the statements made by Henry and does not
support the statements of a drive-by shooting that occurred on the right side of the

vehicle.

The single shell casing that recovered from inside the vehicle on 10/26/2018
by CSI was sent to the BSO Lab for comparison analysis. This shell casing was
compared to the shell casings that was recovered from the crime scene on Pembroke
Road on 11/21/2018. The same scene was initially hidden from investigators. BSO
lab concluded the single casing was a match to the casings recovered outside the
vehicle. This also contradicts statements made to this affiant of this being a drive-by
shooting. This evidence also shows that Thomas and Williams were shot inside the
vehicle and the surviving occupants (Henry and Demons) exited the vehicle and then

intentionally shot into the vehicle from the exterior.

A Search Warrant was requested for the Snap Chat Account of Demons. The
watrant was reviewed and later approved by Judge Orlando. The direct messaging of
the Snap Chat account of Demons revealed he was communicating with his girlfriend
(Mariah Hamilton) on 11/09/2018 (Just 14 days.after the homicide) and he stated,
“Dis nigga saved my life he koming everywhere wit me kuz if dem crackers come grab
him it’s my fault u forgot???” “I keep Bortlen wit kuz at da end of the day he did one
of a realist shit in my life.” These are interesting statements as they are referencing
Demons loyalty and association with Henry. They also suggest that Henry was loyal
to him because he is the one who drove the bodies to the hospital and dealt with law
enforcement. These statements also support the believe by law enforcement that
Demons is the shooter and the evidence leads back to him and any further
cooperation by Henry would be damaging to Demons. This warrant also reveals there
was no communication between Demons and Withers on 10/26/2018 as previously

stated to law enforcement by Withers.

On 12/04/2018, Demons in an effort to promote his music career released a
documentary on YouTube. Throughout the 21-minute documentary, Demons
glorified his use and possession of firearms. Demons stated he’s been carrying a gun
since he was in fourth grade. This is also consistent with statements obtained during
this investigation, regarding Demons always in possession of a firearm. At the end of
the documentary, the final screen displays these words: Four days after the
completion of this film, YNW Melly and his friends were targets of a drive-by shooting
in Miami, Florida. This is significant as it also places Demons at the scene of the

crime in the vehicle with Henry, Thomas and Williams.

In summary, the following information supports the finding of probable cause;
including but not limited to; false statements made by Henry at the hospital; false
statements made by witnesses and involved others to intentionally mislead this
investigation; Demons fleeing the area, not cooperating, and refusing to give a

statement; and the manager of Demons, (Jameson Francois) intentionally misleading
this investigator, giving false statements, stating he doesn’t know where his client is
presently located (It was later discovered that Francois was in communication with
Demons and even drove him out of the area after the shooting). It was later
determined by cell phone records, that Demons and Williams were in the location
determined to be the actual crime scene, which is isolated from individuals passing-
by and potential witnesses to murder. Cell phone evidence indicated that Demons
was dropped off prior to Henry arriving at the hospital. The autopsy report shows the
wound path for both victims’ head wounds was from a left to right direction. Shell
casing inside the vehicle matched the casings on the outside of the vehicle. Evidence
shows, Williams and Thomas were shot inside the vehicle and the rounds came from
the left rear passenger side of the vehicle, subsequently occupied by Demons. The
crime scene was intentionally staged to appear the vehicle (Grey Jeep Compass) was
involved in a drive-by shooting. Video evidence shows Henry changed his clothes but
the original shirt worn by Henry had a blood stain pattern on it. In an interview with
the mother and girlfriend of Demons, both stated that, after the shooting Demons
called them via “FaceTime” and stated he was a victim of a drive by shooting and his
two friends were killed, thus placing him at the scene at the time of the incident. The
mother of Demon’s girlfriend also stated when she witnessed the “Facetime” call it
appeared Demons was outside and hiding, waiting to be picked up. This is also
consistent with the cell records of Demons. It should be noted that Demons was in
possession of his phone before the incident, during the incident and after the

incident. This was also corroborated by the cell phone records obtained in this case.

STATE OF FLORIDA:
COUNTY OF BROWARD:

I, Dect Mark Mpretti, having been duly sworn, say that the facts contained herein, are true
and ¥ t f the bgst of my knowledge, information and belief.

Affiant a - (3 “U4 Date

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STATE OF FLORIDA COUNTY OF BROWARD

Sworn to and LE Ke before me, Ana€. 4, elke __, this £3 day of February, 2018.

shoe Signature of Notary ID #

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Sar &: Explres September 7, 2020

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